                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 139 Filed 04/28/21 Page 1 of 2 Page ID #:2927



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                                                                                                                 10                       UNITED STATES DISTRICT COURT
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                 11                      CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                 12                               WESTERN DIVISION
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




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                                                                                                                 14   HONG LIU,                               Case No. 2:20-cv-08035-SVW-JPR
                                                                                                                 15                 Plaintiff,                Honorable Stephen V. Wilson
                                                                                                                 16        v.                                 ORDER GRANTING AND
                                                                                                                                                              APPROVING STIPULATION FOR
                                                                                                                 17   FARADAY&FUTURE INC.,                    DISMISSAL WITH PREJUDICE
                                                                                                                      SMART KING LTD., JIAWEI                 OF CERTAIN COUNTERCLAIMS
                                                                                                                 18   WANG, and CHAOYING DENG,
                                                                                                                 19                 Defendants.
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                                                                                                                 21 AND RELATED COUNTERCLAIM.
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                                                                                                                      [PROPOSED] ORDER GRANTING AND APPROVING STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                                                                                                                 OF CERTAIN COUNTERCLAIMS
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                                                                                                                  1         The Stipulation for Dismissal with Prejudice of Defendant Faraday&Future
                                                                                                                  2   Inc.’s counterclaims for, breach of fiduciary duty (Fifth Counterclaim), breach of
                                                                                                                  3   employment agreement (Sixth Counterclaim), and declaratory judgment (Eighth
                                                                                                                  4   Counterclaim), but only to the extent it seeks declaratory relief based upon the Fifth
                                                                                                                  5   Counterclaim and the Sixth Counterclaim, as alleged in FF’s Second Amended
                                                                                                                  6   Counterclaim, is approved and granted. The Fifth and Sixth Counterclaims are
                                                                                                                  7   dismissed with prejudice, and the Eighth Counterclaim is dismissed with prejudice
                                                                                                                  8   to the extent it seeks declaratory relief based upon the Fifth Counterclaim and the
                                                                                                                  9   Sixth Counterclaim, with each party to bear its own fees and costs.
                                                                                                                 10         IT IS SO ORDERED:
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




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                                                                                                                 12   Dated: April 28, 2021           _____________________________________
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA




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                                                              S U I T E 1400




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                                                                                                                                                      UNITED STATES DISTRICT JUDGE
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                                                                                                                      [PROPOSED] ORDER GRANTING AND APPROVING STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                                                                                                                 OF CERTAIN COUNTERCLAIMS
